                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


T.K., THROUGH HER MOTHER, SHERRI               )
LESHORE, and A.S., THROUGH HER                 )
MOTHER, LAURA LOPEZ, individually and on       )
behalf of all others similarly situated,       ) Case No. 19 C 7915
                                               )
            Plaintiffs,                        ) Judge John Robert Blakey
                                               )
  vs.                                          ) Magistrate Judge M. David Weisman
                                               )
BYTEDANCE TECHNOLOGY CO., LTD.,                )
MUSICAL.LY INC., MUSICAL.LY THE                )
CAYMAN ISLANDS CORPORATION, and                )
TIKTOK, INC.                                   )




                  OBJECTOR’S SUPPLEMENTAL SUBMISSION
           IN SUPPORT OF OBJECTIONS AND MOTION TO INTERVENE



Dated: August 28, 2020


                                               Respectfully submitted,

                                               MARK S.

                                        By:    /s/ Scott R. Drury
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              District of California Actions




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       Pursuant to the Court’s August 7, 2020 Order, Objector Mark S. provides this

supplemental submission in support of his Objections and Motion to Intervene (Dkt. 38):

I.     New Developments that May Require Court Action.

       A.       Various Settlement Class Members Have Violated the Court’s Preliminary
                Injunction.

       On December 19, 2019, this Court imposed a preliminary injunction, ordering:

       Settlement Class Members are preliminarily enjoined from bringing any new
       alleged class actions asserting any Released Claim or attempting to amend an
       existing action to assert any Released Claim.

Dkt. 13 ¶ 16.

       On August 7, 2020, Objector highlighted the strength and value of the Video Privacy

Protection Act claims in this case. 8/7/2020 Tr. at 42:22-44:15. This seemingly launched a race

in the MDL to violate this Court’s injunction and pursue a Video Privacy Protection Act claim.

On August 14, 2020, in clear violation of this Court’s injunction, various Settlement Class

Members filed an Amended Class Action Complaint in one of the MDL cases that added a Video

Privacy Protection Act count. Exhibit 7 (Am. Consolidated Class Action Compl.). It is not the

operative MDL complaint; no such complaint has yet been filed. Presently, the MDL has two

competing factions, the Illinois Faction and the California Faction. The California Faction filed

the amended complaint.

       Rather than filing an amended complaint, it appears the Illinois Faction chose to try to

settle the enjoined claim. The Illinois Faction and Defendants have represented that they have

reached a settlement in principle. See Dkt. 49-3. The California Faction contends the settlement

is illegitimate and that Defendants handpicked the lawyers with whom to negotiate. See Exhibit

16 (California plaintiffs’ status report). The purported settlement is relevant because Plaintiffs’

counsel, here, indicates that it covers the Video Privacy Protection Act claim in this case. Dkt. 49

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at 2. It does not appear that Plaintiffs’ counsel intends to object to this development, referring to

their own alleged claim as the “Video Privacy Protection Act claims purportedly at issue in this

case.” Id.

        The conduct of the parties to the MDL with respect to the Video Privacy Protection Act

claim in this case is gravely concerning – e.g., violations of this Court’s injunction, accusations

that defense counsel handpicked counsel with whom to negotiate (see Ex. 16 at 2), and a seeming

attempt to resolve the claims in this case before a different judge. Objector respectfully submits

that inquiry by this Court would serve the interests of Settlement Class Members. Related to any

such inquiry would be whether the terms of the contemplated settlement include injunctive relief

because Defendants have represented to this Court that any additional injunctive relief would be

duplicative. (8/7/2020 Tr. at 38).

        B.     The President’s August 14, 2020 Executive Order Could Result in the
               Destruction of Relevant Evidence.

        On August 14, 2020, President Trump issued an Executive Order requiring ByteDance

Ltd. to divest its interests in the TikTok software application (the “TikTok App”) within 90 to

120 days (November 12, 2020 or December 12, 2020) and upon divestment to destroy all data

obtained from the TikTok App and its predecessor, the Musical.ly App (the “August 14 Order”).

Exhibit 3 (8/14/2020 Executive Order). Because the Executive Order could result in the

destruction of evidence related to this case, Objector respectfully submits that the Court should

enter a preservation order.

        In the TikTok biometric litigation pending before Judge Lee, In re: TikTok, Inc. Cons.

Priv. Litig., No. 20 C 4699 (MDL No. 2948) (the “MDL”), Defendants have “affirmed that

Defendants are actively preserving and will continue to preserve relevant evidence” and




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represented that they “do not intend to spoliate any evidence in complying with [President

Trump’s Executive Orders].” Exhibit 4 (MDL Dkt. 16 at 1-2).

       As part of the Case Management Order in the MDL, Judge Lee has ordered the

preservation of evidence. Exhibit 5 (MDL Dkt. 4 ¶ 14). Objector respectfully suggests that this

Court enter the same or like order.

       Other than the above-described evidence preservation issue, neither the August 14 Order

nor the President’s August 6, 2020 Executive Order (the “August 6 Order”) (Exhibit 6 (8/6/2020

Executive Order) bears on this case. The August 6 Order takes effect on September 20, 2020 and

prohibits as-of-yet unspecified transactions by any person subject to jurisdiction of the United

States with ByteDance Ltd., the owner of the TikTok App. Id. § 1(a), (c). The President issued

the August 6 Order due to national security concerns. Id. 1-2. Litigation seeking to protect the

data of American citizens furthers this goal and a search of the Web has not revealed anything

that shows the August 6 Order was intended to prevent American citizens from pursuing their

rights in court. Thus, the possibility of this civil litigation being included in the prohibited

transactions covered by the August 6 Order is remote, if it exists at all.

       While the August 14 Order requires Defendants to divest their interest in the TikTok

App, as Defendants represented to Judge Lee, the impending divestment and acquisition by

another party present “no risk of ‘serious harm’” – i.e., no risk of plaintiffs and class members

not being able to collect a monetary judgment. Ex. 4 at 2. That representation holds true here.

II.    Defendants Have Internally Classified Over 16 Million Users as Children Under 14,
       Underscoring the Propriety of the Objections and the Impropriety of the Proposed
       Settlement.

       An August 14, 2020 New York Times article revealed that, as of July 2020, “TikTok

classified more than a third of its 49 million daily users in the United States as being under 14



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years old or younger.” Exhibit 1 (Aug. 14, 2020 New York Times article). According to the

article, Defendants used “facial recognition algorithms that scrutinize profile pictures and

videos” to estimate the children’s ages. Id.

       The article: (a) directly refutes Defendants’ representation at the recent hearing that “it’s

impossible to identify who those users are that may have lied about their age to use the service in

order to send them notice” (8/7/2020 Tr. at 39:15-18); (b) highlights the huge gap in the FTC

Stipulated Order that only requires the deletion of data for those children who identified as being

under 13; and (c) demonstrates the need for parents to have enforceable injunctive rights against

Defendants. See Dkt. 24-4 at 7-9 (Stipulated Order); see In re Vizio Cons. Priv. Litig., No. 8:16-

ml-02693-JLS-KES, 2017 WL 11420284, at *4-5 (C.D. Cal. July 25, 2017) (FTC consent decree

does not moot need for separate injunction).

       Based on the article, Defendants clearly have not deleted the unlawfully collected

personal information of all children under 13. Moreover, based on the article, Defendants have

and had the ability to identify class members who may have misstated their ages and could have

directly notified them of the proposed settlement. Defendants’ own documents show that they

have the capability to directly notify TikTok App users. Exhibit 2 (Aug. 2018 Privacy Policy)

(showing capability of providing users with information via a “notice on our Platform.”)

III.   Comparable Statutory Damages Cases

       Exhibits 8 - 12 are court documents describing approved and preliminarily approved

settlements in statutory damages cases, which Objector respectfully submits are the proper

comparables, not data breach cases. Included in the attached exhibits are the following:

       •   In re Facebook Biometric Information Privacy Litig., No. 15-cv-03747-JD (N.D.
           Cal.) (Ex. 8) – Order granting preliminary approval of a $650 million settlement of
           Illinois Biometric Information Privacy Act (“BIPA”) claims, a statute that provides
           for statutory damages of $1,000 or $5,000;

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       •   Jones v. CBC Restaurant Corp., No. 1:19-cv-06736 (N.D. Ill.) (Ex. 9) –
           Memorandum in support of preliminary approval of settlement of BIPA claims that
           would provide each class member with an $800 payment (preliminary approval order
           at Dkt. 45);

       •   Wakefield v. Visalus, Inc., No 3:15-cv-1857-SI (D. Ore.) (Ex. 11) – Order affirming
           statutory damages award of $925 million in a Telephone Consumer Privacy Act
           (“TCPA”) case;

       •   Aranda v. Caribbean Cruise Line, Inc., No. 1:12-cv-04069 (N.D. Ill.) (Ex. 12) –
           Memorandum in support of final approval of a TCPA settlement that would provide
           most class members with a $400 payment (settlement approved at Dkt. 626).

       Objector previously submitted the final approval order in In re Vizio, Inc. Consumer

Privacy Litig., 8:16-ml-02693-JLS-KES (C.D. Cal.), see Dkt. 24-13, a Video Privacy Protection

Act case that awarded an estimated cash payment of $16.50 and injunctive relief. Notably, the

court did not utilize the Seventh Circuit’s formula for analyzing the net expected value of a case

based on its strengths and weaknesses. See Reynolds v. Beneficial Nat. Bank, 288 F.3d 277, 285

(7th Cir. 2002). As set forth at the recent hearing, even assuming an almost 50% chance of a zero

recovery, the net expected value of the Video Privacy Protection Act claim in this case is over

$200 million. 8/7/2020 Tr. at 43:18-44:15. Moreover, as demonstrated in Objector’s proposed

Class Action Complaint (Exhibit 14), the Video Privacy Protection Act claim here is strong and

does not suffer from defects like those at issue in In re Netflix Priv. Litig., No. 5:11-cv-000379

EJD, 2013 WL 1120801, at *4-5 (N.D. Cal. Mar. 18, 2013) (based on discovery, plaintiffs

conceded their Video Privacy Protection Act claims had 5% chance of success).

       The recently proposed injunction-only settlements in McDonald v. Kiloo, No. 3:17-cv-

04344-JD (N.D. Cal.) (Exhibit 13 (Preliminary Approval Motion)), to which Plaintiffs referred at

the hearing, are inapposite because: (a) those cases did not involve statutory damages; (b) as

injunction-only settlements, those cases do not present the notice issues raised by Objector, Fed.


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R. Civ. P. 23(c)(2); Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 362 (2011); and (c) also

related to notice, there is no indication that the defendants used facial recognition algorithms to

categorize class members’ ages

IV.     Objector’s Proposed Complaint and Other Objector-Related Information.

        Exhibit 14, hereto, is a copy of Objector’s proposed Class Action Complaint, which

Objector respectfully requests be treated as having been filed and served nunc pro tunc to May

11, 2020, the date of his initial filing. (Dkt. 23).

        Separately, the Honorable Sharon Johnson Coleman has appointed Objector’s counsel

interim lead class counsel in the consolidated action of Mutnick v. Clearview AI, Inc., No. 1:20-

cv-00512 (N.D. Ill.), a nationwide civil rights and privacy class action. Mutnick Dkt. 90.

        Exhibit 15, hereto, is a copy of a declaration from A.S. regarding his TikTok App

registration, subscription and use.




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                                 CERTIFICATE OF SERVICE

          I, Scott R. Drury, an attorney, hereby certify that, on August 28, 2020, I filed the

foregoing document using the Court’s CM/ECF system, which effected service on all counsel of

record.

                                                   /s/ Scott R. Drury
                                                   One of the attorneys for Mark S.
